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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     USA,                                              Case No.14-cr-00030-JST-1
                                                         Plaintiff,
                                   8
                                                                                           JUDGMENT FOR 28 U.S.C. § 2255
                                                    v.                                     PROCEEDINGS
                                   9

                                  10     BELTON,                                           Re: Dkt. No. 316
                                                         Defendant/Movant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           Pursuant to the Order signed on September 26, 2019 denying the motion to vacate, set

                                  14   aside or correct the sentence pursuant to 28 U.S.C. § 2255, judgment is entered in favor of the

                                  15   government and against defendant/movant. Defendant/movant shall obtain no relief by way of the

                                  16   § 2255 motion.

                                  17           IT IS SO ORDERED AND ADJUDGED.

                                  18   Dated: October 4, 2019

                                  19                                                   ______________________________________
                                                                                       JON S. TIGAR
                                  20                                                   United States District Judge
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